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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                                    www.flsb.uscourts.gov

IN RE:                                                        Chapter 11 Case

VITAL PHARMACEUTICALS INTERNATIONAL                           Case No. 22-____________
SALES, INC.,

      Debtor.
_____________________________________________/

                            CORPORATE OWNERSHIP STATEMENT

         In accordance with Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, Vital
Pharmaceuticals International Sales, Inc., a Delaware corporation (the “Company”) does hereby
certify that there are no corporations that directly or indirectly own 10% or more of any class of the
Company’s equity interests.

       I, the Chief Transformation Officer of Vital Pharmaceuticals International Sales, Inc., the
Company named as the debtor in this case, declare under penalty of perjury that I have reviewed the
foregoing and that it is true and correct to the best of my knowledge, information and belief.

         October 10, 2022                      VITAL PHARMACEUTICALS
                                               INTERNATIONAL SALES, INC.
                                               1600 N. Park Drive
                                               Weston, FL 33326

                                               By: /s/ John C. Donato
                                                       John C. DiDonato
                                                       Chief Transformation Officer




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